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Exhibit 9
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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY GAMAGE CLAIMS

FINAL PROPOSAL FORM

DATE OF NOTICE OF BP APPEAL: April 23, 2013
DEADLINE TO SUBMIT FINAL PROPOSAL FORM: May 18, 2013

I. CLAIMANT AND CLAIM INFORMATION

Last/Name of Business First Middle
Claimant Name

ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. FINAL PROPOSAL AMOUNT

Both parties must submit a Final Proposal. Enter the value you are proposing as the new Compensation Amount,
RTP Multiplier, and/or Prior Payment Offset for the claim. Your Initial Proposal RTP Multiplier should not be a dollar
amount, but the factor to be multiplied by the Compensation Amount for certain claim types. The sum is the RTP
and is added to the Compensation Amount. Your Final Proposal Compensation Amount should be the new
Compensation Amount you are proposing for the claim. The Settlement Agreement defines Compensation Amount
as the “amount awarded to the claimant prior to the addition of any RTP.” Accordingly, we will increase any
accepted Final Proposal Compensation Amount by the applicable RTP, if any, and also decrease any accepted Final
Proposal Compensation Amount by any applicable offsets. If we have received notice of any outstanding lien, we
will also deduct that applicable amount from the Award Amount.

If either party accepts the other’s Final Proposal, the Appeals Process will end. If your Final Proposal Compensation
Amount, RTP Multiplier, and Prior Payment Offset are the same as the opposing party’s, the Claims Administrator
will consider that you have reached an agreement, and the Appeals Process will end. If after five days from the
issuance of the Final Proposals, neither party accepts the other’s Final Proposal, and you do not reach a
compromise, we will submit both parties’ Final Proposals, along with any supporting memoranda, to a neutral
Appeal Panel for review. The Appeal Panel will choose a Compensation Amount, RTP Multiplier, and Prior Payment
Offset from either party's Final Proposal as the final outcome of the claim.

Final Proposal Compensation

Amount $142,576.07
Final Proposal 0.25

Risk Transfer Premium .

Final Proposal

Prior Payment Offset $28,700.52

III. SIGNATURE

Signature s/William D Robinson Date 05 =f 20 | _2013
Last Name First Name Middle Initial

Printed Name Robinson William D

Title (if a .

business) President

APP-3 v.1 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM RO3QN+1):3 60002412

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